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                           UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


    GUILLERMINA LOPEZ,

                       Plaintiff,

    v.                                              Case No: 6:22-cv-1580-PGB-LHP

    EMBRY-RIDDLE AERONAUTICAL
    UNIVERSITY, INC.,

                       Defendant




                                          ORDER

          This cause came on for consideration without oral argument on the following

    motion filed herein:

          MOTION: DEFENDANT EMBRY-RIDDLE AERONAUTICAL
                  UNIVERSITY, INC.’S TIME SENSITIVE MOTION
                  FOR PROTECTIVE ORDER AS TO ITS IN-HOUSE
                  COUNSEL (Doc. No. 67)

          FILED:       December 31, 2023



          THEREON it is ORDERED that the motion is GRANTED.

          On September 1, 2022, Plaintiff Guillermina Lopez filed a putative class action

    complaint against Defendant Embry-Riddle Aeronautical University, Inc., alleging

    Defendant breached its fiduciary duty of prudence and breached its duty to
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    adequately monitor other fiduciaries and service providers during Defendant’s

    management of its defined contribution employee retirement plan, all in violation

    of the Employee Retirement Income Security Act, 29 U.S.C. §§ 1001–1461 (“ERISA”).

    Doc. No. 1. Pursuant to the Third Amended Case Management and Scheduling

    Order (“CMSO”), Plaintiff’s expert disclosure deadline is March 4, 2024,

    Defendant’s expert disclosure deadline is April 1, 2024, and discovery closes on

    May 1, 2024. Doc. No. 68, at 1.

          Defendant’s employee retirement plan is managed by Defendant’s

    Retirement Committee, and during the discovery period, Plaintiff has attempted to

    depose several of the committee members, with some success. See, e.g., Doc. Nos.

    57, 59, 61, 64–66, 67. It appears that Plaintiff has been able to depose the Chair of

    the Retirement Committee, Brandon Young, Defendant’s Vice President and Chief

    of Human Resources, and has noticed and/or subpoenaed for deposition eight (8)

    other Committee members.         See Doc. Nos. 67, 70. 1     Plaintiff has also obtained




          1
             Several of these depositions were scheduled to take place prior to the date of this
    Order, and there is no indication on the docket or in the parties’ motion papers that these
    other depositions have not, or will not, go forward. See Doc. No. 67-1. While Defendant
    attaches emails discussing the scheduling of these depositions, no motions to compel have
    been filed, and no motions for protective order have been filed as to any other Committee
    members save Mr. Sevastos. See Doc. No. 67-2; see also Doc. No. 70, at 5, n. 4 (stating that
    the parties are coordinating dates for deposition of several other Committee members).

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    through discovery copies of the Retirement Committee’s meeting minutes. See

    Doc. No. 70, at 8–9.

          By the present motion, Defendant seeks a protective order barring the

    deposition of one of the Committee members: Charlie Sevastos, Defendant’s Vice

    President and General Counsel. Doc. No. 67. 2 Defendant contends in its motion

    and authorized reply that Mr. Sevastos’ deposition should be precluded under the

    apex doctrine, that his deposition would be unnecessarily duplicative and the

    information can be more easily obtained from other sources, and that Mr. Sevastos’

    testimony (all or part) may be protected under the attorney work product and/or

    attorney client privileges. Id.; see also Doc. No. 71. Plaintiff opposes, arguing that

    Defendant cannot rely on the apex doctrine either procedurally or substantively,

    that Plaintiff has already exhausted less intrusive means for seeking relevant

    information, and that Plaintiff has no intention of invading any attorney-client or

    attorney work product privileges.      Doc. No. 70.     Upon consideration of the

    motion, response, and reply, and the attached materials, as well as the applicable

    law, the motion for protective order (Doc. No. 67) will be granted, at least at this

    point in time.




          2
             The deposition was scheduled to take place on January 12, 2024, but the Court
    stayed the deposition pending a ruling on Defendant’s motion. See Doc. Nos. 67, 69.

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          Turning to Defendant’s last argument first, the Court does not find

    persuasive Defendant’s reliance on either the attorney work product or attorney-

    client privilege as a basis to preclude Mr. Sevastos’ deposition in its entirety.

    Defendant fails to demonstrate why such objections would not properly be asserted

    at deposition. Cf. Evanston Ins. Co. v. Republic Props., Inc., No. 6:16-cv-1649-Orl-

    40GJK, 2018 WL 11350656, at *3 (M.D. Fla. Jan. 30, 2018) (denying motion for

    protective order related to deposition and noting that objections that questions

    pertain to issues outside of the scope of discovery may be raised during the

    deposition); see also F.D.I.C. v. Brudnicki, No. 5:12-CV-00398-RS-GRJ, 2013 WL

    5814494, at *4 (N.D. Fla. Oct. 29, 2013) (“[W]ithout the benefit of specific questions

    and objections the Court cannot determine before the deposition has been conducted

    whether answers to the questions would require the disclosure of work-product or

    possibly attorney-client privileged information.”). The Court therefore gives this

    argument no further consideration.

          Defendant fares better, however, with its other arguments. As explained by

    another Court in this District:

          [T]he apex doctrine “operates to protect high-level officers from
          depositions unless they possess ‘unique or superior knowledge of
          discoverable information.’” While there is no per se rule prohibiting
          depositions of high-level officers, “courts frequently restrict efforts to
          depose senior executives where the party seeking the deposition can
          obtain the same information through a less intrusive means, or where
          the party has not established that the executive has some unique

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          knowledge pertinent to the issues in the case.” Simon v. Pronational
          Ins. Co., No. 07-60757, 2007 WL 4893478, at *1 (S.D. Fla. Dec. 13, 2007)
          (quoting Cardenas v. Prudential Ins. Co. of America, 2003 WL 21293757 at
          *1 (D. Minn. May 16, 2003)). “[W]hen a high-ranking official of a
          corporation does not have any direct knowledge of the facts, it is
          inappropriate to compel his deposition without first deposing lesser-
          ranking employees who have more direct knowledge of the facts at
          issue.” Little League Baseball, Inc. v. Kaplan, No. 08-60554-CIV, 2009 WL
          426277, at *2 (S.D. Fla. Feb. 20, 2009) (quoting Stelor Prods., Inc. v. Google,
          Inc., No. 05-80387, 2008 WL 4218107, at *4 (S.D. Fla. Sept. 15, 2008)).

          Howard v. Coonrod, No. 6:21-cv-62-PGB-EJK, 2022 WL 20668007, at *2 (M.D.

    Fla. July 13, 2022) (record citations omitted).

          There is no dispute that Mr. Sevastos is a high ranking official to which the

    apex doctrine would apply.         See Doc. No. 70, at 6 (Plaintiff recognizing Mr.

    Sevastos is an apex witness). 3 As such, the Court now assesses whether Plaintiff

    has established that Mr. Sevastos has some unique personal knowledge that cannot

    be obtained through less intrusive means. And based on the information before

    the Court at this time, Plaintiff has not met her burden.




          3
              Because there is no dispute that Mr. Sevastos is an apex witness, and because
    Defendant agrees that Mr. Sevastos has some personal knowledge, see Doc. No. 71, at 5,
    the Court does not find the lack of a declaration or affidavit from Mr. Sevastos fatal to
    Defendant’s motion. Moreover, contrary to Plaintiff’s assertions, the decision Plaintiff
    cites, Eric Jones v. Scribe OPCO, Inc., Case No. 8:20-cv-2945-VMC-SPF (Mar. 3, 2022), does
    not hold that a motion for protective order can be denied solely due to the lack of an
    affidavit or declaration. Rather, United States Magistrate Judge Sean Flynn considered
    the lack of a declaration, but then went on to assess whether the plaintiff met both prongs
    of the apex doctrine. Id. But unlike the matter before Judge Flynn, Plaintiff in this case
    has not satisfied either prong.

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          As to the first prong — whether Mr. Sevastos possesses unique personal

    knowledge — Plaintiff relies entirely on the fact that Mr. Sevastos is a member of

    the Retirement Committee, nothing more. See, e.g., Doc. No. 70, at 2 (identifying

    Mr. Sevastos as a Committee member); at 3–4 (stating Mr. Sevastos is a “core

    member” of the Retirement Committee and plan fiduciary); at 6 (arguing that there

    is “simply no question” that Mr. Sevastos has unique personal knowledge by virtue

    of his membership in the Retirement Committee); at 6–7 (discussing how the

    Retirement Committee operates as a whole, but nowhere singling out any unique

    information or conduct on the part of Mr. Sevastos); at 8–9 (discussing the

    Committee meeting minutes that identify Mr. Sevastos, along with all other

    Committee members, in attendance). 4 In other words, Plaintiff argues that Mr.

    Sevastos — as opposed to any of the other Committee members — has some unique

    knowledge simply by virtue of his status as a member of the Retirement Committee

    and his attendance at Committee meetings. But Plaintiff nowhere identifies or

    even suggests anything specific to Mr. Sevastos alone that could not be obtained via

    the depositions of the other Committee members. Thus, Plaintiff fails to satisfy the




          4
             The Court gives no weight to Plaintiff’s argument that she reserves her right to
    name Mr. Sevastos as an individual defendant at some later point in time. Doc. No. 70, at
    3, n. 1. The Court will not resolve a current discovery dispute based on speculation and
    contingent future events.

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    first prong of the apex doctrine. 5 See, e.g., CM Sys., LLC v. TransAct Techs. Inc., No.

    3:22CV624(JCH), 2023 WL 3335892, at *1 (D. Conn. May 10, 2023) (granting

    protective order precluding deposition of defendant’s CEO where plaintiff failed to

    identify any unique knowledge the CEO possessed that could not be obtained from

    other lower-level sources); In re Packaged Seafood Prod. Antitrust Litig., No. 15-MD-

    2670-JLS-MDD, 2018 WL 4205038, at *2 (S.D. Cal. Sept. 4, 2018) (granting protective

    order precluding deposition of a member of Board of Directors where plaintiffs had

    deposed other attendees at various meetings and other recipients of

    communications, and received notes of the meetings from other attendees, therefore

    the requested deposition likely would be cumulative and not unique); Sun Cap.

    Partners, Inc. v. Twin City Fire Ins. Co., 310 F.R.D. 523, 527–28 (S.D. Fla. 2015)

    (granting protective order to preclude defendant from deposing co-CEO’s of




          5
             Plaintiff cites to no authority where the apex doctrine can be overcome in
    analogous circumstances. Rather, the authorities Plaintiff references discuss situations
    where the deponent was directly involved in various decisions, as opposed to simply a
    member of a committee, and it was clear that the deponent had unique information that
    no other witness would possess. See Woolfolk v. Columbia Cty., Fla., No. 3:07-cv-137-J-
    25TEM, 2008 WL 11433240, at *2 (M.D. Fla. Feb. 22, 2008) (allowing deposition of sheriff
    because he was a named defendant and had direct knowledge of the facts and policies
    pertaining to the particular case, and sheriff was the final decisionmaker on certain
    relevant policy decisions); McMahon v. Presidential Airways, Inc., No. 6:05-cv-1002-Orl-
    28GJK, 2009 WL 10705558, at *16 (M.D. Fla. Jan. 8, 2009) (permitting deposition of executive
    on daily operations and management of a company, where executive acknowledged he
    was involved in same, and failed to identify any lower level employees who could provide
    the relevant information).

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    plaintiff under apex doctrine where defendant failed to adequately demonstrate

    that the co-CEO’s had any unique, non-repetitive firsthand knowledge about the

    matters at issue, and did not show that any other person could not adequately

    testify to the facts at issue).

           Plaintiff also does not satisfy the second prong. Plaintiff argues that she has

    exhausted less-intrusive means via requests for production, requests for admission,

    and the deposition of the Retirement Committee Chair, Brandon Young. Doc. No.

    70, at 9–10. But this is not enough, for as Defendant points out, Plaintiff has not

    propounded any interrogatories to Mr. Sevastos, nor explained why she could not

    obtain the same information from Mr. Sevastos in this manner versus a deposition.

    Nor does Plaintiff explain why she must take Mr. Sevastos’ deposition before the

    other Retirement Committee members.               Indeed, at this point it is entirely

    speculative that Plaintiff cannot obtain the information she seeks by these other less

    intrusive means. Thus, Plaintiff also fails to satisfy the second prong. See Sun Cap.

    Partners, Inc., 310 F.R.D. at 527–28 (precluding depositions of co-CEO’s under apex

    doctrine where defendant failed to carry its burden of showing that the information

    it sought to obtain through the depositions could not be obtained from any other

    source, and noting that defendant had not yet deposed any other lesser ranking

    officials in an effort to conduct discovery of the facts at issue); Stelor Productions, Inc.

    v. Google, Inc., No. 05–80387–CIV, 2008 WL 4218107, at *4 (S.D.Fla. Sept. 15, 2008)

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    (holding that although plaintiff claimed that Google’s two top executives did have

    direct, unique, and personal knowledge of the facts at issue, it made sense to require

    plaintiff to seek the information from other sources first).

          In addition, the Court finds persuasive Defendant’s argument that Mr.

    Sevastos’ deposition would be unnecessarily duplicative and redundant. At least

    based on the arguments raised in this dispute, it appears that Plaintiff simply wishes

    to depose every single Committee member. And again, Plaintiff does not explain

    why Mr. Sevastos is special and must be deposed at this time. See, e.g., Cloud v.

    Bert Bell/Pete Rozelle NFL Player Ret. Plan, No. 3:20-CV-1277-S, 2021 WL 4477720, at

    *5 (N.D. Tex. Sept. 30, 2021) (in ERISA denial of benefits claim, where additional

    discovery was permitted, plaintiff sought to depose all six members of the claims

    committee; the court only permitted two depositions to go forward, finding that

    plaintiff’s request was overly broad, at least at this time, and that plaintiff had not

    shown that taking all six depositions “would elicit testimony that is not

    unreasonably cumulative or duplicative of one another,” and plaintiff made no

    attempt to show that he could not obtain the relevant information through less than

    six depositions or what new information he would obtain from each deposition); In

    re Packaged Seafood Prod. Antitrust Litig., 2018 WL 4205038, at *2 (precluding

    deposition of a member of Board of Directors where plaintiffs had deposed other

    attendees at various meetings and other recipients of communications, and received

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     notes of the meetings from other attendees, therefore the requested deposition

     likely would be cumulative and not unique).

           Now this is not to say that Plaintiff is forever precluded from deposing Mr.

     Sevastos. Nor should this Order be interpreted to mean that Plaintiff is precluded

     from deposing other additional Committee members. Rather, based solely on the

     explanations provided in the present motion papers, the Court finds that Plaintiff

     has failed to meet her burden that the apex doctrine does not apply to Mr. Sevastos

     at this time. This is not a case where the discovery deadline is looming — rather,

     Plaintiff has nearly 3.5 months left to conduct depositions and other discovery.

     And again, there is nothing before the Court suggesting that these other depositions

     and discovery will not take place. 6 Cf. Jernigan v. Scholastic, Inc., No. 6:17-cv-2039-

     Orl-37KRS, 2018 WL 11323497, at *1 (M.D. Fla. Sept. 17, 2018) (denying protective

     order based on apex doctrine in part because discovery closed in two weeks, leaving

     insufficient time for plaintiff to conduct all other depositions first).

           Accordingly, after Plaintiff conducts this additional discovery, if Plaintiff

     determines that Mr. Sevastos has unique knowledge that was not obtained through

     these other less intrusive means, Plaintiff is free to notice the deposition again and




           6
             The Court of course expects counsel for both parties to cooperate fully in
     scheduling these other depositions.

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     the Court will address that issue if necessary and appropriate. See, e.g., Salter v.

     Upjohn Co., 593 F.2d 649, 651 (5th Cir. 1979) (affirming protective order because the

     plaintiff sought to depose the president in the first instance before lower level

     employees, and because the trial court had provided that plaintiff could take the

     deposition if the testimony of other lower level employees proved unsatisfactory); 7

     CM Sys., LLC, 2023 WL 3335892, at *1 (precluding deposition of CEO under apex

     doctrine, but noting that plaintiff’s request for the deposition could be renewed

     after conducting other discovery and upon a showing of some unique factual

     information in the CEO’s possession); Aileron Inv. Mgmt., LLC v. Am. Lending Ctr.,

     LLC, No. 8:21-CV-146-MSS-AAS, 2021 WL 7448237, at *4 (M.D. Fla. Aug. 13, 2021)

     (granting protective order as to depositions of three high-ranking officers under

     apex doctrine, but noting that plaintiff possibly may seek to depose these officers

     later if plaintiff can show they possess unique, personal knowledge about facts

     pertaining to this action and less intrusive means prove unsuccessful in obtaining

     the information sought); Baine v. Gen. Motors Corp., 141 F.R.D. 332, 334 (M.D. Ala.

     1991) (granting protective order where plaintiff wished to depose all 18 recipients

     of a memorandum and limiting plaintiff to three (3) such depositions, but not



           7 In Bonner v. City of Prichard Ala., 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the

     Eleventh Circuit adopted as binding precedent all decisions of the former Fifth Circuit
     handed down prior to the close of business on September 30, 1981.

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     barring future requests for additional depositions subject to proof of necessity; also

     barring deposition of defendant’s vice president without first engaging in less

     intrusive discovery, to include interrogatories and depositions of lower level

     employees).

             For these reasons, Defendant Embry-Riddle Aeronautical University, Inc’s

     Time Sensitive Motion for Protective Order as to its In-House Counsel (Doc. No. 67)

     is GRANTED, and Plaintiff is precluded from deposing Charlie Sevastos at this

     time.

             DONE and ORDERED in Orlando, Florida January 19, 2024.




     Copies furnished to:

     Counsel of Record
     Unrepresented Parties




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